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lN THE UNITED sTATES DISTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSEE ¢?<e;-,;¢=”?::z; ’°/r /__

 

 

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EASTERN DlvlsIoN ’”T‘ a
JERRY T. BURKE, jj
ll
Plaintiff, §
ll
VS. § No. 05-2028-T/An
ll
STATE OF Fl`ENNESSEE, ET AL., §
ll
Defendants. §§
ORDER TO COMPLY WITH PLRA
ORDER ASSESSING $150 FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND

NOTICE OF APPELLATE FlLING FEE

 

Plaintit`i`.lerry T. Burke, Tennessee Department of Correction (“TDOC”) prisoner
number 142942, Who Was, at the time he commenced this action, an inmate at the Northwest
Correctional Complex (“NWCX”) in Tiptonville, Tennessee, filed a pro se complaint
pursuant to 42 U.S.C. § 1983 in the Western Division ofthis district on January ll, 2005,
along With an in forma pauperis affidavit On April 19, 2005, United States District Judge
J . Daniel Breen issued an order transferring the case to the Eastern Division. The Clerk shall

record the defendants as the State of Tennessee;1 Correctional l\/ledical Services, lnc.

 

l The Courl construes the plaintiff‘s allegations against the TDOC and the NWCX as an attempt to state a

claim against the State of Tennessee.

Thfs document entered on the docket sheet fn compliance
with Ru|e 58 and,'or_79 (a) FRCP on

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(“CMS”);2 Bettye Smith, a nurse at the NWCX; NWCX Corrections Offlcer King; Alex
Weal<s, a maintenance Worker employed at the NWCX; Dr. Smith, Who is employed at the
NWCX; Nickey Sadler, Who is employed in the NWCX maintenance department; NWCX
Warden Tony Parker; and NWCX Health Administrator Samantha Phillips.
l. Assessment ofFiling Fee

Under the Prison Litigation Reform Act of 1 995 (“PLRA”), 28 U.S.C. § 1915(a)-(b),
all prisoners bringing a civil action mustpay the full filing fee of$l 50 required by 28 U.S.C.
§ 191 4(a).3 The statute merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and pay the remainder in installments

ln this case, the plaintiff has properly completed and submitted an in forma pauperis
affidavit containing a certification by the trust fund officer. Although the plaintiff has not
submitted a trust fund account statement, the information supplied by the plaintiff is
sufficient to permit assessment ofthe filing fee. Pursuant to 28 U.S.C. § 1915(b)(l), it is
ORDERED that the plaintiff cooperate fully With prison officials in carrying out this order.
lt is ORDERED that, Within thirty (30) days of the entry of this order, plaintiff file a trust
fund account statement for the six months prior to the commencement of this action. lt is
further ORDERED that the trust fund officer at plaintiffs prison shall calculate a partial

initial filing fee equal to twenty percent (20%) of the greater of the average balance in or

 

2 The Court construes the plaintiffs allegations against the NWCX Medical Department as an attempt to
state a claim against CMS, which operates that department

3 Because this case was filed prior to March 7, 2005, the new $250 civil filing fee is inapplicablel

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deposits to the plaintiffs trust fund account for the six months immediately preceding the
completion of the affidavit When the account contains any funds, the trust fund officer
shall collect them and pay them directly to the Clerk of Court. lfthe funds in plaintiffs
account are insufficient to pay the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the plaintiffs account, and forward them
to the Clerk of Court. On each occasion that funds are subsequently credited to plaintiffs
account the prison official shall immediately withdraw those funds and forward them to the
Clerk ofCourt, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (2()%) of all deposits credited to plaintiffs
account during the preceding month, but only when the amount in the account exceeds
$10.00, until the entire $150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, 111 S. Highland Ave., Jackson, TN 38301

and shall clearly identify plaintiff s name and the case number on the first page of this order.

The obligation to pay this filing fee shall continue despite the immediate dismissal

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of this case. 28 U.S.C. § 1915(e)(2). lf plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his change of address lf still
confined he shall provide the officials at the new prison with a copy of this order. lf the
plaintiff fails to abide by these or any other requirement of this order, the Court may impose
appropriate sanctions, including a monetary fine, without any additional notice or hearing
by the Court.

T he Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of
this order to the warden of the NWCX to ensure that the custodian of the plaintiff s inmate
trust account complies with that portion of the PLRA pertaining to the payment of filing
f`ees. However, the Clerk shall not issue process or serve any other papers in this case.

ll. Analvsis of Plaintiffs Claims

The allegations of the complaint are difficult to decipher, because the allegations are
not presented in chronological order and because the narrative is interspersed with
references to grievances that are not attached to the complaint or fully describedl Plaintiff
alleges that he was physically assaulted by defendant Weaks on June 11, 2003, June 16,
2003, and July 7, 2003. The June 1 1, 2003 assault consisted of Weaks allegedly hitting the
plaintiff in the chest with his fist and bear hugging him. The plaintiff alleges he filed a
grievance, and Weaks was given a two-day suspension Plaintiff alleges that he was

promised by unspecified persons that Weaks would be severely punished. On June 16,

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2003, Weaks allegedly slapped the plaintiff in the chest when he was frisking him. Plaintiff
alleges that he filed a grievance, but the complaint does not set forth the outcome of that
grievance The alleged “assault” that occurred on July 7, 2003 consisted of ordering the
plaintiff to ride on a transport cart over very rough terrain. The plaintiff contends that the
luly 7, 2003 incident exacerbated a pre-existing back injury. Plaintiff allegedly asked for
emergency medical treatment but “staff’ refused his request. Plaintiff alleges he filed a
grievance, but the subject matter and resolution of that grievance are not set forth in the
complaint

On December 26, 2003, plaintiff alleges he signed up for sick call because he was
experiencing pain from the assaults by Weaks. After speaking to the plaintiff, defendant
Smith, the nurse on duty, put the plaintiffs name on the list to see the doctor. However, as
of March 9, 2004, the plaintiff had not seen the doctor. He was still charged $3.00 for the
sick call visit. Plaintiff allegedly filed information requests on March 9, 2004 and on March
17, 2004, but received no response. Plaintiff alleges he filed a grievance on March 22, 2004
alleging that he has received inadequate medical care. The complaint does not state the
defendants named in the grievance nor does it disclose the result of the grievance.4

On April 27, 2004, plaintiff was allegedly called to the clinic for a follow-up to a

tuberculosis test that had been administered several days earlier. At that time, plaintiff

 

4 Plaintiff further alleges that he has been denied adequate medical care for his back and neck injuries and
dizzy spells. He asserts the previous medication did not work, but the doctor continued to prescribe it. lt is. not
clear when this allegedly occurred, and it is not clear whether the plaintiff filed a grievance

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alleges he was in severe pain due to his back problem. After sitting in a hard chair while
waiting for his name to be called, he tried to get up, collapsed on the floor, and could not get
up, Defendant King allegedly asked plaintiff if he was all right, and the plaintiff stated that
he could not feel or move his legs. Defendant Smith was allegedly on duty at the time, but
she did not perform any examination with respect to the plaintiffs collapse but, instead, only
checked the results of his tuberculosis test. Smith allegedly told plaintiff the only way he
could receive medical attention for the collapse was to sign up for sick call. Plaintiff stated
that he could not walk and therefore could not sign up, and defendant King suggested that
plaintiff be provided a wheelchair so he could be transported to the area where the sick call
sheet is maintained5 Smith eventually agreed to let plaintiff use a wheelchair, but she
refused to investigate the cause of his pain unless he first signed up for sick call. Plaintiff
alleges that, as of May l, 2004, he had not received medical treatment or pain medication,
and he no longer had a wheelchair.

Dr. Smith is named as a defendant because he allegedly failed to adequately treat the
plaintiffs back condition, investigate the cause of the plaintiffs medical problem, and
prevent the progression of the plaintiff s injury. The plaintiff apparently is currently
confined to a wheelchair. Smith also allegedly mumbled something derogatory under his
breath on September 16, 2003. The plaintiff alleges he filed a grievance on September 27,

2003 about the mumbled words and inadequate medical care, but the complaint does not

 

5 King is named as a defendant because she failed to notify a supervisor ofthe plaintiffs collapse at the
clinic.

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state the outcome of that grievance

Defendant Sadler is named in the complaint as the supervisor of defendant Weaks
Sadler allegedly denied the plaintiff medical care after the July 7, 2003 incident in which the
plaintiff was injured while riding in the transport cart, and he also allegedly has knowledge
of the grievances the plaintiff filed concerning the incidents on June 11, 2003 and June 16,
2003. lt is not clear whether plaintiff named defendant Sadler in any of his grievances

Defendant Parker is named in the complaint because he allegedly has knowledge of
the subject-matter of the plaintiffs grievances and failed to intervene on his behalf lt is not
clear whether plaintiff named defendant Parker in any of his grievances

Defendant Phillips is named in the complaint because she allegedly has knowledge
of grievances the plaintiff filed on September 27, 2003, March 22, 2004, and May l, 2004
and failed to intervene on his behalf. ln addition, Phillips failed to investigate the plaintiffs
injury and to ensure that he was receiving adequate medical care. lt is not clear whether the
plaintiff named defendant Phillips in any of his grievances The plaintiff seeks
compensatory and punitive damages and payment of his future medical expenses

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to
dismiss a complaint without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies Brown v.
M, 139 F.3d 1102 (6th Cir. 1998); B Porter v. Nussle, 534 U.S. 516, 532 (2002)

(“[T]he PLRA’s exhaustion requirement applies to all inmate suits about prison life, whether

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they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only
money damages must exhaust administrative remedies although damages are unavailable
through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claims Knuckles El v.

Toombs, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the mandates of 42 U.S.C.

 

§ 1997e(a):
a prisoner must plead his claims with specificity and show that they have been
exhausted by attaching a copy of the applicable administrative dispositions to
the complaint or, in the absence of written documentation, describe with
specificity the administrative proceeding and its outcome.
Knuckles El, 215 F.3d at 642; see also Bovd v. Corrections Corp. of Am., 380 F.3d 989,
985-96 (6th Cir. 2004) (describing the standard for demonstrating exhaustion when prison
officials fail to respond in a timely manner to a grievance), cert denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to allege

exhaustion adequately may not amend his complaint to avoid a sua sponte dismissal); Cuny

v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for district court to

 

dismiss for failure to exhaust when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion). Furthermore, § 1997(e)
requires the prisoner to exhaust his administrative remedies before filing suit and, therefore,
he cannot exhaust these remedies during the pendency of the action. Freeman v. Francis,

196 F.3d 641, 645 (6th Cir. 1999). Finally, the Sixth Circuit recently held that district courts

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are required to dismiss a complaint in its entirety, pursuant to 42 U.S.C. § l997e(a), that
contains any unexhausted claims Jones Bey v. Johnson, 407 F.3d 801, 805-09 (6th Cir.
2005).

ln light of the large number of claims, the plaintiff has not satisfied his burden of
demonstrating that he exhausted his administrative remedies with respect to each and every
one of his claims Moreover, as previously explained, the plaintiff has not satisfied his
burden of demonstrating that he filed grievances with respect to each of the defendants as
required by Moorer v. Price, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did
not exhaust claim against warden because his grievance did not identify the warden or

articulate any claim against her), Thomas v. Woolum, 337 F.3d 720, 73 3-34 (6th Cir. 2003),

 

and Cur_ry, 249 F.3d at 504.
The Sixth Circuit has stated that “[a] plaintiff who fails to allege exhaustion of

administrative remedies throu h ‘ articularized averments’ does not state a claim on which
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relief may be granted, and his complaint must be dismissed sua sponte.” Baxter, 305 F.3d
at 489.6 Moreover, pursuant to the recent decision in .l ones Bey, a district court must dismiss
any complaint that contains unexhausted claims rather than attempting to sever the
exhausted claims As a result, a case must be dismissed unless a prisoner has exhausted each

of his claims with respect to every defendant named in each claim. Foushee v. Wiggins, No.

 

6 As the Sixth Circuit explained, "‘lf the plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement,
assuming that the relevant statute oflimitations has not run.” Baxter, 305 F.3d at 489.

 

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3:05CV7108, 2005 WL 1364613, at *3 (N.D. Ohio June 8, 2005). Accordingly, the Court
DlSMlSSES the complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ 1997e(a).
lll. Appeal lssues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision in forma pauperis Twenty-eight U.S,C. § 1915(a)(3) provides that an appeal may
not be taken in forma pauperis if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Coppedae v. United States, 369 U.S.
438, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous l_d_.
Accordingly, it would be inconsistent for a district court to determine that a complaint
should be dismissed prior to service on the defendants yet has sufficient merit to support an
appeal informa pauperis See Williams v. Kullman, 722 F.Zd 1048, 1050 n.l (2d Cir.
1983). The same considerations that lead the Court to dismiss this case also compel the
conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 191 5(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment ofa filing fee ifplaintif`f appeals
the dismissal of this case.? ln l\/chore v. Wrigglesworth, 114 F.3d 601, 610-ll (6th Cir.

1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,

 

7 Eff`ective November 1, 2003, the fee for docketing an appeal is $250. §§ Judicial Conference Schedule
of Fees, ll I,Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a $5 fee.

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the plaintiff is instructed that if he wishes to take advantage of the installment procedures

for paying the appellate filing fee, he must comply with the procedures set out in McGore

and § ins(a)-(b). `W`

IT lS SO ORDERED this Q" g/day ofluly, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02028 was distributed by fax, mail, or direct printing on
.luly 29, 2005 to the parties listed.

 

.lerry T. Burke
NWCX

142942

960 State Route 212
Tiptonville7 TN 38079

Honorable .l ames Todd
US DlSTRlCT COURT

